Case 21-40834-drd11            Doc 322 Filed 01/31/22 Entered 01/31/22 09:55:23          Desc
                                 Main Document     Page 1 of 2
MOW 3007-1.1    (4/2021)



                           IN THE UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF MISSOURI

IN RE:                                                     )
                                                           )
INTERSTATE UNDERGROUND WAREHOUSE                           )
     AND INDUSTRIAL PARK, INC.                             )      Case. No. 21-40834
                                                           )      Chapter 11
                                Debtor.                    )

                                    OBJECTION TO CLAIM

       Comes now Movant Interstate Underground Warehouse and Industrial Park, Inc., and
hereby objects to the Proof of Claim filed by creditor Adam N. Leon dba Lion’s Plumbing, in the
amount of $20,885.41, and filed on August 26, 2021. The court claim number is #11.

     Your claim may be reduced, modified, or eliminated. You should read this
document carefully and discuss it with your attorney, if you have one.

    Pursuant to Local Rule 3007-1 (C), the Claimant shall have 30 days after service of the
    Objection in which to file a Response, if you do not want the court to eliminate or change
    your claim. The Response shall be in writing and state why the claim should be allowed as
    filed. If a Response is filed, the Court will schedule a hearing. If no timely Response is
    filed, the Court will enter an Order sustaining the Objection to the Claim. Parties not
    represented by an attorney shall mail a Response to the Court at U.S. Bankruptcy Court, 400
    E. 9th St., Room 1510, Kansas City, MO 64106. Debtor(s) not represented by an attorney
    must be served a copy of the Response by regular mail. If your Response is mailed, it must
    be early enough so that the court will receive it on or before 30 days after service of the
    Objection.

The basis for the objection is as follows:

☒        The claim should be allowed or disallowed as follows:

The claim consists of a total of $20,885.41. The Movant has no objection to the work performed
on June 2, 2019 totaling $8,585.41 but does object to the alleged work charged of $12,300.
Movant does not believe that the $12,300 listed for May 29, 2019 through March 20, 2020 was
authorized or performed.
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                                 Main Document     Page 2 of 2
MOW 3007-1.1     (4/2021)




Dated: January 31, 2022                                     KRIGEL & KRIGEL, P.C.


                                                             /s/ Erlene W. Krigel
                                                            Erlene W. Krigel, MO #29416
                                                            4520 Main St., Ste. 700
                                                            Kansas City, MO 64111
                                                            Telephone: (816) 756-5800
                                                            Fax: (816) 756-1999
                                                            Email: ekrigel@krigelandkrigel.com
                                                            ATTORNEYS FOR DEBTOR

                                    CERTIFICATE OF SERVICE

I Erlene Krigel hereby certify that a true and correct copy of the Objection to Claim was mailed
to Adam N. Leon dba Lion’s Plumbing, by first class mail this 31st day of January, 2022:

Adam Leon dba Lion’s Plumbing                               Betsy Lynch, Esq.
2115 Belleview                                              Lynch Sharp & Associates LLC
Kansas City, MO 64108                                       9229 Ward Parkway, Suite 370
                                                            Kansas City MO 64114


And to all interested parties received notice electronically via the court’s Electronic System.


Dated: 1/31/2022                                                    /s/ Erlene W. Krigel
                                                                    Erlene W. Krigel

Court address: U.S. Bankruptcy Court, 400 E. 9th St., Room 1510, Kansas City, MO 64106

Instructions: Complete all parts of the form and serve on the affected parties

ECF Event: Bankruptcy>Claim Actions>Objection to Claim (includes 30-day notice)
